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                          Affidavit in Support of Criminal Complaint                             o·s•rici:. court e
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                                                                                 c\efl'., v;
        1.      I, Chris Moon, being duly sworn, state that I am a Special Age1,:t.a.~trf~J~ga.

of Alcohol, Tobacco, Firearms and Explosives ("ATF"), the U.S. Justice Department and have

been so employed since July 2015. As such, I am an investigative or law enforcement officer of

the United States within the meaning of Title 18, United States Code, Section 2510(7) and am

empowered by law to conduct investigations of, and to make arrests for violations of federal

laws, including, but not limited to, Title 18, U.S. Code, Section 922(g). I successfully completed

the Criminal Investigations Training Program ("CITP") and the ATF National Academy Special

Agent Basic Training ("SABT") at the Federal Law Enforcement Training Center. Previous to

this employment, I was employed with Conyers Police Department for eleven (11) years. I was

assigned to the Conyers Police Department Criminal Investigations Division for nine (9) of the

eleven (11) years.   During this time I participated in numerous criminal investigations that

included the crimes of murder, armed robbery, aggravated assault, rape, child molestation, and

drug trafficking.

       2.      This affidavit is submitted in support of a criminal complaint and arrest warrant

for Ronald Harris also known as "3rd," for being a felon in possession of a firearm, in violation

of Title 18, United States Code Section 922(g)(l).

       3.       On June 5, 2022, at approximately 0237 hours, Chattanooga Police Department

("CPD") officers responded to a "shots fired" call at 2125 McCallie Avenue in Chattanooga.

Upon arrival, CPD located a large crowd of people in the street and several victims on scene

suffering from gunshot wounds. One male victim was pronounced deceased on scene. Another

victim was pronounced deceased after being transported to Erlanger Hospital. Other victims that

were on scene were taken to Erlanger Hospital and Parkridge Hospital by personal vehicle. At


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 this point, CPD secured the crime scene and called for the CPD Violent Crimes Bureau ("VCB")

 to respond. ATF also responded to the scene.

          4.       CPD VCB observed numerous spent shell casings on the ground and located a

 blue Chevy Suburban backed into a parking space in the Walgreens parking lot across the street

from the incident location. The blue Chevrolet Suburban was detennined to be stolen. The

vehicle was secured and towed to the Police Service Center for processing.

          5.       CPD VCB reviewed camera footage from the Walgreens across from 2125

McCallie Ave. From the footage, CPD VCB learned that at approximately 0207 hours, the blue

Chevy Suburban arrived at the Walgreens and backing into a parking space. A black male with a

white shirt, khaki pants, white shoes, and a white hat, a second black male wearing a black shirt

and red shorts, and a third black male wearing a spmis jersey with the number 14 and white

shorts exited the vehicle and walked toward the incident location. The black male with a white

shirt, khaki pants, white shoes, and a white hat walked around the parking lot with a black rifle 1

in his hand. He then walked in between two other vehicles in the parking lot and walked back to

the parking lot with a mask on. He was no longer wearing the white hat when he returned to the

parking lot. He then walked out of view of the camera toward the incident location, and the

shooting occurred. Video from a Facebook Live video was obtained of the black male with a

white shirt, khaki pants, white shoes, and mask holding a rifle in his hand while standing in the

street on McCallie A venue in front of Mary's Bar and Grill. He walked around the crowd while

holding the gun. The black male with a black shirt and red shorts is seen standing with him. The

male with the mask and gun was identified as Rodney Harris, also known as "3 rd ," a federally

convicted felon. The black male wearing the jersey with the number 14 was identified as Garrian


1 While referred to as a "rifle" throughout this affidavit based on its appearance from the video, the firearm is

actually an AR pistol.

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 King, also known as "Big G", a federally convicted felon. The black male wearing a black shirt

 and red shorts was identified as a known member of the Gangster Disciples street gang. King

 and Harris are known members of the Rollin 60 Crips street gang.

         6.     At approximately 0237 hours, Chattanooga Police personnel arrived on scene at

2125 McCallie Avenue and located several victims with gunshot wounds. One of those victims

was Harris, who was laying in the street with the same clothes described above and the black

mask on his head when the officers arrived. The rifle he was seen carrying was not located at the

scene.

         7.     Video surveillance showed that King got into side front door of a white Land

Rover SUV that is parked in the Walgreens parking lot. The Land Rover SUV drove off through

the parking lot towards South Willow Street. At approximately 0240 hours it returned, and King

got into the passenger side front door of the white Land Rover. When he got into the Land

Rover, King appeared to be carrying the rifle that Harris had prior to the shooting. The white

Land Rover then left the scene heading through the parking lot towards South Willow Street.

         8.     On June 7, 2022, CPD located a white Land Rover matching the one seen on

camera the night of the homicides parked at King's residence. King was present at the address.

CPD, with help from the Federal Bureau of Investigation ("FBI"), interviewed King, and King

admitted that he was on scene on McCallie Ave. the night of the shooting. King fmiher admitted

that, after the shooting occurred, he picked up the rifle that Harris had, got into the passenger seat

of the white Land Rover, and fled the scene. King admitted that he bought the rifle on May 28,

2022, for $800. King stated that he then drove to an unknown address on Milne Street and sold

the rifle to a black male named "Dre" for $500. Law enforcement, however, determined the

defendant was not truthful regarding what he did with the rifle, and they tracked the rifle to an



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address in Collegedale, Tennessee. The rifle was taken from the Collegedale address before law

enforcement executed a search warrant on that address, but law enforcement was able to contact

the person who took it from the Collegedale residence. The person who took the rifle from the

Collegedale residence did not want to meet CPD, so he left the rifle at an agreed-upon location,

and CPD recovered it there.

         9.    The firearm was an Anderson Manufacturing AM-15, AR-pistol with an arm

brace chambered in .300 Blackout. The firearm was not manufactured in the State of Tennessee.

         10.   On June 10, 2022, your affiant and Chattanooga Police Homicide Investigators

Springer and Williams interviewed Harris at Erlanger Hospital. Harris was read his Miranda

Rights, confirmed he understood his rights, and agreed to speak to law enforcement. Harris

confirmed that he was in possession of the AR-pistol from Friday, June 3, 2022, until the

shooting happened at Mary's on June 5, 2022. Harris stated that he was standing in a parking lot

outside of Mary's with the ski mask on and the AR in his hand, when a car up the street began

doing a burnout. Harris stated that someone then started shooting him, and he fell to the ground.

HaITis stated that he tried to stand up, and someone stmied shooting him again. Harris did not

remember firing the Anderson AM-15 and did not know what happened to it after he fell to the

ground a second time. There were twelve (12) .300 Blackout fired cartridge casings located at

the scene. Harris confirmed that he was a previously convicted felon at the time of this incident.

         11.   Prior to his possession of the firearn1 described above, Hmris was a convicted

felon.   On April 28, 2014, the defendant was convicted of Conspiracy of Crack Cocaine

Distribution by a District Comi in the Eastern District of Tennessee.




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        12.    Based on his training and experience, affiant is aware that the firearm the

defendant possessed was manufactured outside the state of Tennessee and, therefore, did travel

in and affect interstate and/or foreign commerce.

        13.    Based upon the foregoing, affiant submits there is probable cause to charge and

aiTest Ronald Harris, also known as "3rd," for being a felon in possession of a firearm,    111


violation of Title 18, United States Code Section 922(g)(l ).




                                                     C
                                                     Special Agent, ATF

Sworn to and subscribed before me
T . 3t 1     QJ;,,,+~, 2022,




CHRISTOPHER H. TEGER
U.S. MAGISTRATE JUDGE




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